@< Case 1:05-cr-10004-.]DT Document 25 Filed 04/18/05 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA,

 

 

 

Plaintiff,
vs. No.05-100 4-T
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MARY cHRIsTINE GREEN _s`.»»-,:_) 1”
Defendant. §P;f£ __ §§
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Comes now the defendant, Mary Christ ne Green, by and through
her court-appointed counsel of record, Michael J. Stengel, Esq.,

and moves this Court to reset the r ort date currently scheduled

for Friday, April 29, 2005 at :45 a.m. In support thereof,

defendant would show:

l. Defense Counsel wi be Out Of the Office from April 27-30,

2005 attending the Sen ncing Advocacy Workshop presented by the

Administrative Off' e of the U.S. Courts' Defender Services

Training Branch n Santa Monica, California.

2. nse counsel is engaged in substantive settlement
discussio with the United States. Earlier this weekr AUSA
Kitchen informed defense counsel that he couldn't prepare the

propo ed plea documents without further consultation with his case

age (s), who are apparently out of town through the end of next

, Apr-ll 22, 2005. MoTloN GBANTED
DATE- 91"“’

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U. S DistriciJudge r&§

 

Case 1:05-cr-10004-.]DT Document 25 Filed 04/18/05 Page 2 of 3 Page|D 28

3. Absent any further delay, defense counsel anticipates that
a substantive report and possible change of plea can be made to the
Court during the week of May 2, 2005. Such report would enable the
parties to keep the current May 9, 2005 trial setting in the
unlikely event no plea agreement is reached.

4. Defense counsel has discussed this motion with AUSA
Kitchen, who has no object to it being granted.

WHEREFORE, PREMISES CONSIDERED, defendant prays this Court
grant her motion and reset her report date from April 29, 2005 to

the week of May 2, 2005.

Respectfully submitted,

… §,c;€
mcneal J. sc'engei clzh@o)
Attorney for Defendant
50 N. Front Street, Suite 850

Memphis, Tennessee 38103
(901) 527-3535

Certificate of Service
I hereby certify that l have served a copy of the foregoing
upon Mr. Jerry Kitchen,109 S. Highland Ave., Suite 300, Jackson,

Tennessee 38301, this lLtE§ day of April, 2005.

M»MSM

Michael J. Stengel

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 1:05-CR-10004 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

